Case 09-61855-bem         Doc 199     Filed 12/10/20 Entered 12/10/20 09:43:39            Desc Main
                                     Document      Page 1 of 3




    IT IS ORDERED as set forth below:



    Date: December 10, 2020
                                                             _________________________________

                                                                      Barbara Ellis-Monro
                                                                 U.S. Bankruptcy Court Judge

  ________________________________________________________________

                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION


 IN RE:                                            :          CASE NO. 09-61855-BEM
                                                   :
 TODD ANTHONY SHAW,                                :          CHAPTER 7
                                                   :
          Debtor.                                  :
                                                   :

          ORDER AUTHORIZING PAYMENT OF ADMINISTRATIVE EXPENSES

          On November 9, 2020, S. Gregory Hays, as Chapter 7 Trustee for the bankruptcy estate

 of Todd Anthony Shaw (“Trustee”), filed a motion for authority to pay administrative expenses

 of the bankruptcy estate, seeking authority to pay $4,000.00 to the Georgia Department of

 Revenue for State income taxes and $22,317.00 to the Internal Revenue Service for federal

 income taxes for the fourth quarter of calendar year 2020 [Doc. No. 190] (the “Motion”).

          In the Motion, Trustee shows that there are sufficient funds in this bankruptcy estate with

 which to make the foregoing payments, and Trustee submits that such payments are proper as

 administrative expenses of the bankruptcy estate.




 15920660v1
Case 09-61855-bem         Doc 199     Filed 12/10/20 Entered 12/10/20 09:43:39             Desc Main
                                     Document      Page 2 of 3



         On November 10, 2020, Trustee filed a Notice of Pleading, Deadline to Object, and for

 Hearing [Doc. No. 195] (the “Notice”), in accordance with General Order No. 24-2018, and

 setting a hearing on the Motion on December 8, 2020 (the “Hearing”). Counsel for Trustee

 asserts that he served the Notice on all requisite parties in interest. [Doc. No. 196].

         The Notice provided notice of the opportunity to object and for hearing pursuant to the

 procedures in General Order No. 24-2018. No objection to the Motion was filed prior to the

 objection deadline provided in the Notice.

         Counsel for Trustee appeared at the calendar call for the Hearing. No creditors or parties

 in interest appeared.

         The Court having considered the Motion and all other matters of record, including the

 lack of objection to the relief requested in the Motion; and, the Court having found that good

 cause exists to grant the relief requested in the Motion, it is hereby

         ORDERED that the Motion is granted and Trustee is authorized to pay $4,000.00 to the

 Georgia Department of Revenue for State income taxes and $22,317.00 to the Internal Revenue

 Service for federal income taxes.

                                      [END OF DOCUMENT]

 Order prepared and presented by:


 ARNALL GOLDEN GREGORY LLP
 Attorneys for Trustee

 By:/s/ Michael J. Bargar
     Michael J. Bargar
     Georgia Bar No. 645709
 171 17th Street, N.W., Suite 2100
 Atlanta, Georgia 30363-1031
 Phone: (404) 873-7030/ Fax: (404) 873-7031
 michael.bargar@agg.com




 15920660v1
Case 09-61855-bem        Doc 199      Filed 12/10/20 Entered 12/10/20 09:43:39   Desc Main
                                     Document      Page 3 of 3




 Identification of parties to be served:

 Office of the U.S. Trustee
 362 Richard B. Russell Federal Building
 75 Ted Turner Drive, SW
 Atlanta, GA 30303

 Todd Anthony Shaw
 1010 Forest Overlook Drive
 Atlanta, GA 30331

 Montie Day
 Day Law Offices
 P. O. BOX 1525
 Williams, CA 95987

 S. Gregory Hays
 Hays Financial Consulting, LLC
 Suite 555
 2964 Peachtree Road NW Atlanta, GA
 30305-2153

 Richard M. Jones, Jr.
 Law Office of Richard Jones, P.C.
 P. O. Box 371031
 Decatur, GA 30037




 15920660v1
